                                             Case 2:23-cv-02119-DLR Document 17 Filed 11/20/23 Page 1 of 3



                                      1 PAPETTI SAMUELS WEISS MCKIRGAN LLP
                                          16430 North Scottsdale Road
                                          Suite 290
                                      2   Scottsdale, AZ 85254
                                          Randy Papetti (State Bar No. 014586)
                                      3   Direct Dial: 480.800.3525
                                          Email: rpapetti@PSWMlaw.com
                                      4   Todd D. Erb (State Bar No. 027122)
                                          Direct Dial: 480.800.3524
                                      5   Email: terb@PSWMlaw.com
                                          Hannah G. Dolski (State Bar No. 034793)
                                      6   Direct Dial: 480.800.3534
                                          Email: hdolski@PSWMlaw.com
                                      7   Attorneys for Blue Cross and Blue Shield of Arizona, Inc.

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                                                                         UNITED STATES DISTRICT COURT
Papetti Samuels Weiss McKirgan LLP




                                      9
                                                                                   DISTRICT OF ARIZONA
                                     10
                                        Cogent Healthcare of Arizona, P.C.; Sound
16430 North Scottsdale Road




                                     11 Physician Intensivists of Arizona, Inc.;                      Case No. 23-cv-02119-DLR
                                        Sound Physicians Emergency Medicine of
Scottsdale, AZ 85254




                                     12 Arizona, Inc.; and Hospitalist Medicine                       STIPULATION FOR EXTENSION
                                        Physicians of Arizona - Nogales Inc.,                         OF TIME TO RESPOND TO
                                     13                                                               COMPLAINT (SECOND REQUEST)
                                                          Plaintiffs,
Suite 290




                                     14                                                               -AND-
                                              v.
                                     15                                                               STIPULATION REGARDING
                                        Blue Cross and Blue Shield of Arizona,                        PROPOSED BRIEFING SCHEDULE
                                     16 Inc.,                                                         FOR MOTION TO DISMISS

                                     17                           Defendant.

                                     18            Defendant Blue Cross and Blue Shield of Arizona and Plaintiffs Cogent
                                     19 Healthcare of Arizona, P.C., Sound Physicians Intensivists of Arizona, Inc., Sound
                                     20 Physicians Emergency Medicine of Arizona, Inc., and Hospitalist Medicine Physicians
                                     21 of Arizona – Nogales, Inc. recently conferred pursuant to LRCiv 12.1 regarding
                                     22 Defendant’s intention to file a motion to dismiss Plaintiffs’ Complaint (Doc. 1). The
                                     23 parties further conferred regarding potential scheduling conflicts that could impact the
                                     24 briefing of Defendants’ forthcoming motion, including their respective workloads, filing
                                     25 deadlines in other cases, and anticipated vacation time during the upcoming holidays. In
                                     26 light of these discussions, and to ensure that each party will have sufficient time to fully
                                     27 and fairly brief their respective positions on a dispositive motion, the parties have
                                     28 stipulated and agreed to the following briefing schedule for Defendant’s forthcoming
                                           Case 2:23-cv-02119-DLR Document 17 Filed 11/20/23 Page 2 of 3



                                      1 motion to dismiss:
                                      2
                                              Deadline for Defendants to File Motion to Dismiss         December 5, 2023
                                      3
                                              Deadline for Response to Motion to Dismiss                January 9, 2024
                                      4
                                              Deadline for Reply in Support of Motion to Dismiss        January 22, 2024
                                      5
                                      6 The parties’ intent in coordinating and proposing the above briefing schedule is to
                                      7 obviate the need for future stipulations under LRCiv 7.3 relating to the briefing of
                                      8 Defendant’s forthcoming motion.
                                      9         A proposed form of order has been lodged with this stipulation.
Papetti Samuels Weiss McKirgan LLP




                                     10         DATED this 20th day of November, 2023.
16430 North Scottsdale Road




                                     11                                              PAPETTI SAMUELS WEISS MCKIRGAN LLP
Scottsdale, AZ 85254




                                     12                                              /s/Todd D. Erb
                                                                                     Randy Papetti
                                     13                                              Todd D. Erb
Suite 290




                                                                                     Hannah G. Dolski
                                     14                                              Attorneys for Defendant Blue Cross and
                                                                                     Blue Shield of Arizona, Inc.
                                     15
                                     16                                              DAWSON & ROSENTHAL
                                     17                                              /s/Steven C. Dawson
                                                                                     Steven C. Dawson
                                     18                                              Attorneys for Plaintiffs
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                                           Case 2:23-cv-02119-DLR Document 17 Filed 11/20/23 Page 3 of 3



                                      1                            CERTIFICATE OF SERVICE
                                      2         I hereby certify that on the 20th day of November, 2023, I electronically
                                        transmitted the attached document to the Clerk’s Office using the CM/ECF System for
                                      3 filing, and for transmittal of a Notice of Electronic Filing to the following CM/ECF
                                        registrants:
                                      4
                                                               Matthew M. Lavin (pro hac vice anticipated)
                                      5                        Jeffrey S. Jacobovitz (pro hac vice anticipated)
                                                               Nicole E. Wemhoff (pro hac vice anticipated)
                                      6                        Arnall Golden Gregory LLP
                                                               2100 Pennsylvania Ave. NW, Ste. 350S
                                      7                        Washington, DC 20037
                                                               matt.lavin@agg.com
                                      8                        jeffrey.jacobovitz@agg.com
                                                               nicole.wemhoff@agg.com
                                      9
Papetti Samuels Weiss McKirgan LLP




                                                               Steven C. Dawson
                                     10                        Dawson & Rosenthal, P.C.
16430 North Scottsdale Road




                                                               25 Schnebly Hill Rd.
                                     11                        Sedona, AZ 86336
                                                               dandr@dawsonandrosenthal.com
Scottsdale, AZ 85254




                                     12
                                                               Attorneys for Plaintiffs
                                     13
Suite 290




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                                     15                                                /s/Joye Allen
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